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                                 13
                                 14
                                 15   Attorneys for Plaintiffs, SANDRA SMITH, GERALD
                                      BENSON, and NATASHA HAMIDI
                                 16
                                 17                     UNITED STATES DISTRICT COURT
                                 18              FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 19
                                      SANDRA SMITH; GERALD                CASE NO.: 2:17-cv-05149-SVW-AFM
                                 20   BENSON; NATASHA HAMIDI;
                                 21                Plaintiffs, on behalf of  SECOND AMENDED CLASS ACTION
                                                   themselves and all others COMPLAINT
                                 22                similarly situated,
                                                                               1. BREACH OF IMPLIED CONTRACT
                                 23         vs.                                2. NEGLIGENCE
                                                                               3. VIOLATION OF CALIFORNIA’S UNFAIR
                                 24   SABRE CORPORATION f/k/a                     COMPETITION LAW CAL. BUS. &
                                 25   SABRE HOLDINGS                              PROF. CODE § 17200 - UNLAWFUL
                                      CORPORATION, a Delware                      BUSINESS PRACTICES
                                 26   corporation; SABRE GLBL, Inc.; and       4. VIOLATION OF CALIFORNIA’S UNFAIR
                                 27   DOES 1 to 10 inclusive                      COMPETITION LAW CAL. BUS. &
                                                                                  PROF. CODE §17200 UNFAIR
                                 28                       Defendant.
                                                                           1
                                                         SECOND AMENDED CLASS ACTION COMPLAINT
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                                  1                                                      BUSINESS PRACTICES
                                                                                     5. VIOLATION OF CALIFORNIA’S UNFAIR
                                  2                                                      COMPETITION LAW CAL. BUS. &
                                  3                                                      PROF. CODE §17200
                                                                                         FRAUDULENT/DECEPTIVE BUSINESS
                                  4                                                      PRACTICES
                                  5                                                  6. UNFAIR AND DECEPTIVE BUSINESS
                                                                                         PRACTICES
                                  6                                                  7. CONSTITUTIONAL INVASION OF
                                  7                                                      PRIVACY
                                                                                     8. NEGLIGENCE PER SE
                                  8                                                  9. BREACH OF COVENANT OF DUTY OF
                                  9                                                      GOOD FAITH AND FAIR DEALING
                                                                                     10. VIOLATION OF STATE DATA BREACH
                                 10                                                      ACTS
                                 11
                                            Plaintiffs, Sandra Smith, Gerald Benson, and Natasha Hamidi ("Plaintiffs”),
                                 12
                                      by and through their counsel of record, on behalf of themselves and all others
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                                 13
                                      similarly situated bring this Class Action Complaint against Sabre Corporation
                                 14
                                      (“Sabre”). Plaintiffs alleges the following on information and belief, except as to
                                 15
                                      those allegations specific to Plaintiffs, as follows:
                                 16
                                      I.    NATURE OF THE ACTION
                                 17
                                                     “Security breaches could expose us to liability.”
                                 18
                                                                  — Sabre, SEC report dated March 31, 2017.
                                 19
                                            1.       Hundreds of thousands of customers every year book hotel rooms
                                 20
                                      using the Sabre SynXis Central Reservations system, which facilitates the booking
                                 21
                                      of hotel reservations made by consumers through hotels, online travel agencies, and
                                 22
                                      similar booking services. Consumers expect the highest quality of services when
                                 23
                                      booking a hotel room. What consumers did not expect was that for a period between
                                 24
                                      August 2016, to March 2017, for all hospitality companies that utilize the SynXis
                                 25
                                      Central Reservations system (“CRS”), for a period of eight months, their
                                 26
                                      information was being collected by an unauthorized third party. This is a data
                                 27
                                      breach case.
                                 28
                                                                                 2
                                                             SECOND AMENDED CLASS ACTION COMPLAINT
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                                  1         2.      Plaintiffs, individually and on behalf of those similarly situated
                                  2   persons (hereafter “Class Members”), bring this Class Action to secure redress
                                  3   against Sabre for its reckless and negligent violation of customer privacy rights.
                                  4   Plaintiffs and Class Members are former customers who booked hotel reservations
                                  5   with any of the hospitality companies that utilize the CRS in the U.S. during the
                                  6   period of June 2016 to March 2017.
                                  7         3.      Plaintiffs and Class Members suffered injuries. The security breach
                                  8   compromised hotel customers’ full names, credit and debit card account numbers,
                                  9   card expiration dates, card verification codes, emails, phone numbers, mailing
                                 10   addresses, and other private identifiable information (“PII”).
                                 11         4.      As a result of Sabre’s wrongful actions and inactions, customer
                                 12   information was stolen. Many of the customers who booked hotel rooms have had
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                                 13   their PII compromised, have had their privacy rights violated, have been exposed
                                 14   to the risk of fraud and identify theft, and have otherwise suffered damages.
                                 15   II.   THE PARTIES
                                 16         5.      Plaintiff Sandra Smith is a California citizen residing in San Joaquin,
                                 17   California.
                                 18         6.      Plaintiff Gerald Benson is a California citizen residing in Los Angeles,
                                 19   California.
                                 20         7.      Plaintiff Natasha Hamidi is a California citizen residing in Los
                                 21   Angeles, California.
                                 22         8.      Plaintiffs brings this action on their own behalf and on behalf of all
                                 23   others similarly situated, namely all other individuals who have made a booking at
                                 24   any of the hotels that use Sabre Hospitality Solutions SynXis Centre Reservations
                                 25   System during the period of June 2016 to March 2017.
                                 26         9.      Defendant Sabre Corporation, formerly known as Sabre Holdings
                                 27   Corporation, is a Delaware corporation, having its principal executive offices at
                                 28
                                                                                3
                                                             SECOND AMENDED CLASS ACTION COMPLAINT
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                                  1   3150 Sabre Drive, Southlake, Texas. Sabre Corporation is the sole owner of Sabre
                                  2   Holdings Corporation.
                                  3          10.   Defendant Sabre Holdings Corporation (“Sabre Holdings”) is a
                                  4   Delaware corporation having principal executive offices at 3150 Sabre Drive,
                                  5   Southlake, Texas. Sabre Holdings wholly owns and controls Sabre GLBL Inc., its
                                  6   principal operating subsidiary and sole direct subsidiary.
                                  7          11.   Defendant Sabre GLBL Inc. is a Delaware corporation having
                                  8   principal executive offices at 3150 Sabre Drive, Southlake, Texas.
                                  9   III.   JURISDICTION AND VENUE
                                 10          12.   This Court has subject matter jurisdiction over the state law claims
                                 11   asserted here pursuant to the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2),
                                 12   since some of the Class Members are citizens of a State different from the
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                                 13   Defendant and, upon the original filing of this complaint, members of the putative
                                 14   Plaintiffs class resided in states around the country; there are more than 100 putative
                                 15   class members; and the amount in controversy exceeds $5 million.
                                 16          13.   The Court also has personal jurisdiction over the Parties because Sabre
                                 17   conducts a major part of their national operations with regular and continuous
                                 18   business activity in California, on information and belief through a number of hotels
                                 19   and with an advertising budget both not exceeded in other jurisdictions throughout
                                 20   the United States.
                                 21          14.   Venue is appropriate because, among other things: (a) Plaintiffs are
                                 22   resident and citizen of this District; (b) the Defendants had directed their activities
                                 23   at residents in this District; (b) the acts and omissions that give rise to this Action
                                 24   took place, among others, in this judicial district.
                                 25          15.   Venue is further appropriate pursuant to 28 U.S.C. § 1391 because
                                 26   Defendants conduct a large amount of their business in this District, and Defendants
                                 27   have substantial relationships in this District. Venue is also proper in this Court
                                 28
                                                                                 4
                                                            SECOND AMENDED CLASS ACTION COMPLAINT
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                                  1   because a substantial part of the events and omissions giving rise to the harm of the
                                  2   Class Members occurred in this District.
                                  3   IV.      SUBSTANTIVE ALLEGATIONS
                                  4            A.     The Data Breach Unravels
                                  5            16.    Sabre operates the SynXis Central Reservations system, which
                                  6   facilitates the booking of hotel reservations made by individuals and companies.
                                  7   Sabre’s SynXis reservation system serves more than 36,000 properties with 2.4
                                  8   hotels added to Sabre’s system every hour and with over 8 billion CRS shopping
                                  9   requests        each     month.         See        Sabre      Results,    available   at
                                 10   http://www.sabrehospitality.com/.
                                 11            17.    On July 5, 2017, Sabre Corporation admitted that “an unauthorized
                                 12   party accessed certain payment card information for a limited subset of hotel
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                                 13   reservations processed through the SHS reservation system . . . over a seven month
                                 14   period from August 2016 to March 2017.” See Sabre Update on Cybersecurity
                                 15   Incident, available at https://www.sabre.com/insights/releases/sabre-update-on-
                                 16   cybersecurity-incident/1 (attached hereto as Exhibit A).
                                 17            18.    In addition to the eight-month period, the unauthorized third-parties
                                 18   would have had access to booking information up to 60 days prior to the breach, as
                                 19   the SynXis CRS only deletes reservation details 60 days after the hotel stay. See
                                 20   June      29,    2017,    Google     Notice       of   Data     Breach,   available   at
                                 21   https://oag.ca.gov/system/files/Google%20-
                                 22   %20Sabre%20Incident%20Individual%20Notification%20Letter_0.pdf? (attached
                                 23   hereto as Exhibit B).
                                 24            19.    Not until May 2, 2017, almost ten months after the data breach began,
                                 25   did Sabre disclose this breach on its website. See May 2, 2017, Sabre Statement,
                                 26
                                 27
                                 28   1   All cited websites were last visited on July 11, 2017.
                                                                                    5
                                                               SECOND AMENDED CLASS ACTION COMPLAINT
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                                  1   available at https://www.sabre.com/insights/releases/sabre-statement/ (attached
                                  2   hereto as Exhibit C).
                                  3         20.    However, the disclosure is not prominently placed on Sabre
                                  4   Corporation’s website. Rather, Sabre inconspicuously placed a “press release” at
                                  5   the bottom of the “newsroom” portion of the website.
                                  6         B.     Stolen Information Is Valuable to Hackers and Thieves
                                  7         21.    It is well known, and the subject of many media reports, that payment
                                  8   card data is highly coveted and a frequent target of hackers. Especially in the
                                  9   technology industry, the issue of data security and threats thereto, is well known.
                                 10   Despite well-publicized litigation and frequent public announcements of data
                                 11   breaches, Sabre opted to maintain an insufficient and inadequate system to protect
                                 12   the payment information of Plaintiffs and Class Members. Legitimate organizations
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                                 13   and criminal underground alike recognize the value of PII. Otherwise, they would
                                 14   not aggressively seek or pay for it. As previously seen in one of the world’s largest
                                 15   breaches, hackers compromised the card holder data of 40 million customers. See
                                 16   “Target: 40 million credit cards compromised,” CNN Money, Dec. 19, 2013,
                                 17   available at http://money.cnn.com/2013/12/18/news/companies/target-credit-card/
                                 18   (attached hereto as Exhibit D).
                                 19         22.    Credit or debit card information is highly valuable to hackers. Credit
                                 20   and debit card information that is stolen from the point of sale are known as
                                 21   “dumps.”    See Krebs on Security April 16, 2016, Blog Post, available at
                                 22   https://krebsonsecurity.com/2016/04/all-about-fraud-how-crooks-get-the-cvv/
                                 23   (attached hereto as Exhibit E). Credit and debit card dumps can be sold in the
                                 24   cybercrime underground for a retail value of about “$20 apiece.”           Id.   This
                                 25   information can also be used to clone a debit or credit card. Id.
                                 26   ///
                                 27   ///
                                 28
                                                                                6
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                                  1         C.     The Data Breach Has and Will Result in Additional Identity
                                  2   Theft and Identity Fraud
                                  3         23.    Sabre failed to implement and maintain reasonable security procedures
                                  4   and practices appropriate to the nature and scope of the information compromised
                                  5   in the data breach.
                                  6         24.    Security flaws and other infirmities were explicitly outlined by Visa,
                                  7   as early as 2009, when it issued a Data Security Alert outlining the threat of RAM
                                  8   scraper malware.6 The report instructs companies to “[s]ecure remote access
                                  9   connectivity,” “[i]mplement a secure network configuration, including egress and
                                 10   ingress filtering to only allow the ports/services necessary to conduct business” (i.e.,
                                 11   segregate networks), “actively monitor logs of network components, including IDS
                                 12   [intrusion detection systems] and firewalls for suspicious traffic, particularly
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                                      outbound traffic to unknown addresses,” “[e]ncrypt cardholder data anywhere it is
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                                 13
                                 14   being stored and [] implement[] a data field encryption solution to directly address
                                 15   cardholder data in transit” and “[w]ork with your payment application vendor to
                                 16   ensure security controls are in place to prevent unauthorized modification to the
                                 17   payment application configuration.”
                                 18         25.     All merchants that accept customer payments via payment cards,
                                 19   including Defendants, are obligated and required to comply with the Payment Card
                                 20   Industry Data Security Standards (the “PCI DSS”). How to Be Compliant: Getting
                                 21   Started with PCI Data Security Standard Compliance, PCI SSC, available at
                                 22   https://www. pcisecuritystandards.org/merchants/how_to_be_compliant.php (last
                                 23   visited June 24, 2015) (stating “[i]f you are a merchant that accepts payment cards,
                                 24   you are required to be complaint with the PCI [DSS].”). Compliance with the PCI
                                 25   DSS is common practice in the retail industry. The PCI DSS, among other things,
                                 26   mandates merchants to protect cardholder data, PCI DSS v. 3.0 at 34 (Nov. 2013),7
                                 27   requires merchants to install and maintain firewalls, id. at 19, forbids merchants
                                 28   from using default settings and passwords for applications and devices, id. at 28,
                                                                                 7
                                                            SECOND AMENDED CLASS ACTION COMPLAINT
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                                  1   requires merchants to segment cardholder data, id. at 61, and requires merchants to
                                  2   identify and authenticate their system users. Id. at 64.
                                  3         26.     Additionally, sub-requirement 3.2 of the PCI DSS requires merchants
                                  4   and other organizations involved in payment card transactions to refrain from
                                  5   storing sensitive authentication data after authorization (even if it is encrypted). See
                                  6   id. at 35. To adhere to the PCI DSS, a merchant must, inter alia:
                                  7         First, Assess -- identify cardholder data, take an inventory of your IT
                                  8         assets and business processes for payment card processing, and
                                  9         analyze them for vulnerabilities that could expose cardholder data.
                                 10         Second, Remediate -- fix vulnerabilities and do not store cardholder
                                 11         data unless you need it. Third, Report -- compile and submit required
                                 12         remediation validation records (if applicable), and submit compliance
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                                 13         reports to the acquiring bank and card brands you do business with.
                                 14   How to Be Compliant: Getting Started with PCI Data Security Standard
                                 15   Compliance,               PCI               SSC,              available              at
                                 16   https://www.pcisecuritystandards.org/merchants/how_to_be_compliant.php             (last
                                 17   visited June 24, 2015) (emphasis in original).
                                 18         27.     The ramifications of Sabre’s failure to keep Plaintiffs’ and Class
                                 19   Members’ data secure are severe.
                                 20         28.     According to Javelin Strategy and Research, “one in every three people
                                 21   who is notified of being a potential fraud victim becomes one . . . with 46% of
                                 22   consumers who had cards breached becoming fraud victims that same year.”
                                 23   “Someone Became an Identity Theft Victim Every 2 Seconds Last Year,” Fox
                                 24   Business, Feb. 5, 2014 available at http://www.foxbusiness.com/personal-
                                 25   finance/2014/02/05/someone-became-identitytheft-victim-every-2-seconds-last-
                                 26   year.html (attached hereto as Exhibit F).
                                 27         29.     It is incorrect to assume that reimbursing a consumer for a financial
                                 28   loss due to fraud makes that individual whole again. On the contrary, after
                                                                                  8
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                                  1   conducting a study, the Department of Justice’s Bureau of Justice Statistics (“BJS”)
                                  2   found that “among victims who had personal information used for fraudulent
                                  3   purposes, 29% spent a month or more resolving problems.” See “Victims of
                                  4   Identity Theft,” U.S. Department of Justice, Dec 2013, available at
                                  5   https://www.bjs.gov/content/pub/pdf/vit12.pdf (attached hereto as Exhibit G). In
                                  6   fact, the BJS reported, “resolving the problems caused by identity theft [could] take
                                  7   more than a year for some victims.” Id. at 11.
                                  8         D.     Annual Monetary Losses from Identity Theft Are Billions of
                                  9   Dollars
                                 10         30.    Javelin Strategy and Research reports that those losses increased to
                                 11   $21 billion in 2013. See 2013 Identity Fraud Report (attached hereto as Exhibit H).
                                 12   There may be a time lag between when harm occurs and when it is discovered, and
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                                 13   also between when PII is stolen and when it is used. According to the U.S.
                                 14   Government Accountability Office (“GAO”), which conducted a study regarding
                                 15   data breaches:
                                 16
                                            [L]aw enforcement officials told us that in some cases, stolen data
                                 17         may be held for up to a year or more before being used to commit
                                 18         identity theft. Further, once stolen data have been sold or posted on
                                            the Web, fraudulent use of that information may continue for years.
                                 19         As a result, studies that attempt to measure the harm resulting from
                                 20         data breaches cannot necessarily rule out all future harm. GAO,
                                            Report to Congressional Requesters, at 33 (June 2007), available at
                                 21         http://www.gao.gov/new.items/d07737.pdf (attached hereto as
                                 22         Exhibit I)

                                 23         31.    Plaintiffs and Class Members now face years of constant surveillance
                                 24   of their financial and personal records, monitoring, and loss of rights. The Class is
                                 25   incurring and will continue to incur such damages in addition to any fraudulent
                                 26   credit and debit card charges incurred by them and the resulting loss of use of their
                                 27   credit and access to funds, whether or not such charges are ultimately reimbursed
                                 28   by the credit card companies.
                                                                                9
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                                  1         32.    As Chief Judge Lasnik observed when sentencing a thief of PII,
                                  2   “identity theft can create huge emotional problems for people. We often think of
                                  3   bank fraud as just against a bank or just money, but it damages real people.” Press
                                  4   Release, United States Attorney’s Office, Western District of Washington, Member
                                  5   of ID Theft Ring That Preyed on Starbucks’ Employees Sentenced to Prison (June
                                  6   2, 2006), available at http://www.usdoj.gov/usao/waw/press/2006/jun/nguyen.htm
                                  7   (last visited Apr. 28, 2009). Chief Judge Lasnik also noted that the damage of
                                  8   identity theft isn’t just financial, “it causes rifts between husbands and wives, it
                                  9   causes divorces.” Id.
                                 10         E.      Plaintiffs and Class Members Suffered Damages
                                 11         33.    The data breach was a direct and proximate result of Sabre’s failure to
                                 12   properly safeguard and protect Plaintiffs’ and Class Members’ PII from
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                                 13   unauthorized access, use, and disclosure, as required by various state and federal
                                 14   regulations, industry practices, and the common law, including Sabre’s failure to
                                 15   establish and implement appropriate administrative, technical, and physical
                                 16   safeguards to ensure the security and confidentiality of Plaintiffs’ and Class
                                 17   Members’ PII to protect against reasonably foreseeable threats to the security or
                                 18   integrity of such information.
                                 19         34.    Plaintiffs' and Class Members’ PII is private and sensitive in nature
                                 20   and was inadequately protected by Sabre. Sabre did not obtain Plaintiffs’ and Class
                                 21   Members’ consent to disclose their PII, except to certain persons not relevant to this
                                 22   action, as required by applicable law and industry standards.
                                 23         35.    As a direct and proximate result of Sabre’s wrongful action and
                                 24   inaction and the resulting data breach, Plaintiffs and Class Members have been
                                 25   placed at an imminent, immediate, and continuing increased risk of harm from
                                 26   identity theft and identity fraud, requiring them to take the time and effort to
                                 27   mitigate the actual and potential impact of the subject data breach on their lives by,
                                 28   among other things, placing “freezes” and “alerts” with credit reporting agencies,
                                                                                10
                                                              SECOND AMENDED CLASS ACTION COMPLAINT
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                                  1   contacting their financial institutions, closing or modifying financial accounts, and
                                  2   closely reviewing and monitoring their credit reports and accounts for unauthorized
                                  3   activity.
                                  4          36.   As a result of this breach of security, Plaintiffs’ and other Class
                                  5   members’ debit cards and credit cards were exposed and subjected to unauthorized
                                  6   charges; their bank accounts were overdrawn and credit limits exceeded; they were
                                  7   deprived of the use of their cards and access to their funds; their preauthorized
                                  8   charge relationships were disrupted; they were required to expend time, energy and
                                  9   expense to address and resolve these financial disruptions and mitigate the
                                 10   consequences; they suffered consequential emotional distress; and their credit and
                                 11   debit card information is at an increased risk of theft and unauthorized use.
                                 12          37.   Plaintiffs and Class Members were deprived of use of their cards for
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                                 13   appreciable periods of time and were unable to access their accounts or their funds;
                                 14   customers lost accumulated miles and points toward bonus awards and were unable
                                 15   to earn points during the intervals their cards were inactivated; customers who
                                 16   requested that their cards be cancelled were required to pay fees to issuing banks
                                 17   for replacement cards; customers who had registered their cards with online sellers
                                 18   were required to cancel and change their registered numbers; customers who had
                                 19   given creditors pre-authorization to charge their debit cards or credit cards for
                                 20   recurring payments were required to change the pre-authorizations; customers were
                                 21   placed in non-payment status by virtue of their cards being overdrawn or abruptly
                                 22   cancelled and were required to pay penalties and service reinstatement fees;
                                 23   customers purchased identity theft insurance and credit monitoring services to
                                 24   protect themselves against possible consequences of the breach; customers suffered
                                 25   emotional distress as they were forced to cope with the unauthorized charges and
                                 26   other consequences of Defendant’s’ data breach, and some customers are still not
                                 27   aware of the data breach or that their data has been compromised.
                                 28
                                                                               11
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                                  1          38.    Specifically, Plaintiff Sandra Smith has been booking hotel rooms with
                                  2   hotels that use Sabre’s system for years, and during and after the breach, Plaintiff
                                  3   had fraudulent charges to credit and/or debit cards used at booking for hotels that
                                  4   use Sabre’s CRS. Plaintiff has to spend time and effort to constantly monitor her
                                  5   accounts due to the risk of fraud and identity theft.
                                  6
                                  7
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                                 13
                                 14
                                 15          39.    In addition, Plaintiff Gerald Benson has been booking hotel rooms
                                 16   with hotels that use Sabre’s system for years, and during the breach, Plaintiff had
                                 17   stayed at several hotels and booked rooms using Sabre’s CRS. Plaintiff understands
                                 18   the high likelihood that he will experience fraudulent activity in the near future, and
                                 19   so Plaintiff has to constantly monitor his accounts due to the risk of fraud and
                                 20   identity theft.
                                 21          40.    By failing to secure its users’ PII, Sabre made email account and other
                                 22   PII access available to even the least capable hacker.
                                 23          41.    This PII was freely published many times on the Internet, making the
                                 24   information available to the general public.
                                 25          42.    A person’s email account and/or full name and other PII act as modern
                                 26   day filing cabinets for a variety of interactions, transactions, and correspondence.
                                 27          43.    Accordingly, access to email accounts and other PII allow wrongdoers
                                 28   to access private information, to access communications with third-parties, and to
                                                                                12
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                                  1   send false messages to other persons thereby causing reputational and financial
                                  2   damage to the accountholder.
                                  3         F.     Sabre’s Failure to Disclose Its True Security Practices Caused
                                  4   Class Members To Receive Less Valuable Services Than Those They Paid For
                                  5         44.    Consumers place value in data privacy and security, and they consider
                                  6   it in making purchasing decisions.
                                  7         45.    Further, “it is widely known among businesses that consumers are
                                  8   willing to pay increased prices in order to do business with merchants who better
                                  9   protect their privacy by following” FTC best practices. Id. at 5. In fact, little
                                 10   “research has been performed since 2004 to establish whether people value privacy,
                                 11   since it is widely understood that they do. Research has since shifted to examine the
                                 12   extent to which they value it, when balanced with other concerns, and how this
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                                 13   changes based on specific circumstances.” Id. at 4 n.1 (emphasis added).2
                                 14         46.    Academic research has shown that consumers are willing to spend
                                 15   additional money (a premium) in exchange for “stronger privacy protections, which
                                 16   includes the secure storage of their personal information,” and research also
                                 17   supports the corollary point, that consumers expect increased data security and
                                 18   privacy when they pay additional money for a service. Id. at 5-6.
                                 19         47.    Consumer     software   and        technology   markets   have   likewise
                                 20   demonstrated that consumers value their privacy/security and incorporate data
                                 21   security practices into their purchases. For example, companies have emerged
                                 22   providing consumers with “cloaking services” that allow consumers to browse the
                                 23
                                 24
                                 25
                                      2See also Hann et al., The Value of Online Information Privacy: An Empirical
                                 26   Investigation (Mar. 2003) at 2,
                                 27   http://www.comp.nus.edu.sg/~ipng/research/privacy.pdf (last
                                      visited Apr. 30, 2013) (“The real policy issue is not whether consumers value
                                 28   online privacy. It is obvious that people value online privacy.”).
                                                                                 13
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                                  1   Internet anonymously for a $30 to $40 premium.3 Likewise, companies now offer
                                  2   services that, in exchange for a monthly fee, will offer online services designed to
                                  3   protect data privacy.4
                                  4          48.       Because of the value consumers place on data privacy and security,
                                  5   services with better security practices command higher prices than those without.
                                  6   Indeed, if consumers did not value their data security and privacy, profit-seeking
                                  7   corporations (like Sabre) would have no reason to tout their privacy and security
                                  8   credentials to current and prospective customers. Id. at 48. Across all price ranges,
                                  9   users are more willing to pay for PII services that offer industry-standard security
                                 10   than services with substandard security. Further, when calculating the utility of
                                 11   service booking websites, consumers factor stated security practices heavily into
                                 12   their calculations. Egelman Rep. at 10-11.
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                                 13          49.       Research shows that consumers do not view unsecure websites as
                                 14   substitutes for secure networks.
                                 15          50.       As a result, a service website with substandard data security and
                                 16   privacy protections is objectively less useful and valuable than a service website
                                 17   with industry-standard security protocols, and is essentially a different service
                                 18   entirely.
                                 19          51.       Accordingly, had Sabre disclosed its lax security practices, Plaintiffs
                                 20   and Class Members would have viewed the cost for booking a room through them
                                 21   as less valuable and would either have attempted to book a room at a premium price
                                 22   or not at all.
                                 23
                                      3
                                        See Rust et al., The Customer Economics of Internet Privacy, Journal of the
                                 24   Academy of Marketing Sciences 30, 4 (2002) at 461.
                                      4
                                 25     See Simple pricing, advanced service, Safe Shepherd,
                                      https://www.safeshepherd.com/pricing (last accessed Nov. 13, 2017) (offering
                                 26   basic privacy protection services for free, an advanced service for $13.95 per
                                 27   month, and a “VIP” service for $249.95 per month); see also Identity Protection
                                      Software, Norton by Symantec, http://buy.norton.com/en-us/identity-protection-
                                 28   software (last accessed Apr. 30, 2013).
                                                                                   14
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                                  1         52.      In addition, Plaintiffs have suffered sufficiently concrete injuries for
                                  2   the purposes of Article III standing. See Robins v. Spokeo, Inc., No. 11-56843 (9th
                                  3   Cir. Aug. 15, 2017). The “risk of real harm” is sufficient in this circumstance to
                                  4   constitute injury in fact. Id.; Lujan v. Defs. Of Wildlife, 504 U.S. 555, 578 (1992).
                                  5   The nature of a data breach makes it so that the threatened injury is “certainly
                                  6   impending” as opposed to merely speculative. Clapper v. Amnesty International
                                  7   USA, 133 S. Ct. 1138, 1147-48 (2013). The reason for that is the very nature of a
                                  8   data breach stems from individuals attempting to use the stolen information – this
                                  9   “intangible injury” has already occurred. See Spokeo, Inc. v. Robins, 136 S. Ct.
                                 10   1540, 1549 (2016). The harm in a data breach occurs to every affected individual
                                 11   that has had their information acquired without their consent. Whether anticipated
                                 12   conduct or an anticipated injury is likely to happen after a breach is beside the point.
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                                      Just as in Spokeo II, the court did not suggest that “Congress's ability to recognize
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                                 13
                                 14   such injuries turns on whether they would also result in additional future injuries
                                 15   that would satisfy Clapper.” See, e.g., Spokeo II, 136 S. Ct. at 1553 (Thomas, J.,
                                 16   concurring).
                                 17         53.      Sabre’s wrongful actions and inaction directly and proximately caused
                                 18   the theft and dissemination into the public domain of Plaintiffs' and Class Members’
                                 19   PII, causing them to suffer and continue to suffer economic damages and other
                                 20   actual harm for which they are entitled to compensation, including:
                                 21         a.    Theft of their PII;
                                 22         b.    The imminent and certainly impending injury flowing from potential
                                 23               fraud and identity theft posed by their PII being placed in the hands of
                                 24               criminals and already misused via the sale of Plaintiffs’ and Class
                                 25               Members’ information on the Internet black market;
                                 26         c.    The untimely and inadequate notification of the data breach;
                                 27         d.    The improper disclosure of their PII;
                                 28         e.    Loss of privacy;
                                                                                 15
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                                  1         f.     Ascertainable losses in the form of out-of-pocket expenses and the
                                  2                value of their time reasonably incurred to remedy or mitigate the effects
                                  3                of the data breach;
                                  4         g.     Ascertainable losses in the form of deprivation of the value of their PII,
                                  5                for which there is a well-established national and international market;
                                  6         h.     Overpayments to Sabre for booking and purchase during the subject
                                  7                data breach in that a portion of the price paid for such booking by
                                  8                Plaintiffs and Class Members to Sabre was for the costs of reasonable
                                  9                and adequate safeguards and security measures that would protect
                                 10                customers’ PII, which Sabre and its affiliates did not implement and, as
                                 11                a result, Plaintiffs and Class Members did not receive what they paid
                                 12                for and were overcharged by Sabre; and
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                                 13         i.     Deprivation of rights they possess under the Unfair
                                 14                Competition Laws.
                                 15   V.    CLASS ACTION ALLEGATIONS
                                 16         54.    Plaintiffs brings this action on their own behalf and pursuant to the
                                 17   Federal Rules of Civil Procedure Rule 23(a), (b)(2), (b)(3), and (c)(4), Plaintiffs
                                 18   seeks certification of a Nationwide class and a California class. The nationwide
                                 19   class is initially defined as follows:
                                 20
                                                   All persons residing in the United States whose PII was
                                 21                disclosed in the data breach in 2016-2017 (the “Nationwide
                                 22                Class”).

                                 23         The California class is initially defined as follows:
                                 24
                                                   All persons residing in California whose PII was disclosed in
                                 25                the data breach in 2016-2017 (the “California Class”).
                                 26         55.    Excluded from each of the above Classes are Sabre, including any
                                 27   entity in which Sabre has a controlling interest, is a parent or subsidiary, or which
                                 28
                                                                                16
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                                  1   is controlled by Sabre, as well as the officers, directors, affiliates, legal
                                  2   representatives, heirs, predecessors, successors, and assigns of Sabre.       Also
                                  3   excluded are the judges and court personnel in this case and any members of their
                                  4   immediate families. Plaintiffs reserves the right to amend the Class definitions if
                                  5   discovery and further investigation reveal that the Classes should be expanded or
                                  6   otherwise modified.
                                  7         56.    Numerosity. Fed. R. Civ. P. 23(a)(1). The members of the Classes are
                                  8   so numerous that the joinder of all members is impractical. While the exact number
                                  9   of Class Members is unknown to Plaintiffs at this time, Sabre has acknowledged
                                 10   that customers’ PII was stolen for a period of eight months. The disposition of the
                                 11   claims of Class Members in a single action will provide substantial benefits to all
                                 12   parties and to the Court.      The Class Members are readily identifiable from
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                                      information and records in Sabre’s possession, custody, or control.
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                                 13
                                 14         57.    Commonality. Fed. R. Civ. P. 23(a)(2) and (b)(3). There are questions
                                 15   of law and fact common to the Classes, which predominate over any questions
                                 16   affecting only individual Class Members. These common questions of law and fact
                                 17   include, without limitation:
                                 18         a.     Whether Sabre owed a duty of care to Plaintiffs and Class Members
                                 19                with respect to the security of their personal information;
                                 20         b.     Whether Sabre took reasonable steps and measures to safeguard
                                 21                Plaintiffs’ and Class Members’ personal information;
                                 22         c.     Whether Sabre violated California’s Unfair Competition Law by
                                 23                failing to implement reasonable security procedures and practices;
                                 24         d.     Whether Sabre violated common and statutory law by
                                 25                failing to promptly notify Class Members their Private Identifiable
                                 26                Information had been compromised;
                                 27         e.     Which security procedures and which data-breach notification
                                 28                procedure should Sabre be required to implement as part of any
                                                                               17
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                                  1                injunctive relief ordered by the Court;
                                  2         f.     Whether Sabre has an implied contractual obligation to use reasonable
                                  3                security measures;
                                  4         g.     Whether Sabre has complied with any implied contractual obligation
                                  5                to use reasonable security measures;
                                  6         h.     Whether Sabre acts and omissions described herein give rise to a claim
                                  7                of negligence;
                                  8         i.     Whether Sabre knew or should have known of the security breach prior
                                  9                to its May 2017 disclosure;
                                 10         j.     Whether Sabre had a duty to promptly notify Plaintiffs and Class
                                 11                Members that their personal information was, or potentially could be,
                                 12                compromised;
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                                 13         k.     What security measures, if any, must be implemented by Sabre to
                                 14                comply with its implied contractual obligations;
                                 15         l.     Whether Sabre violated California’s privacy laws in connection with
                                 16                the acts and omissions described herein;
                                 17         m.     What the nature of the relief should be, including equitable relief, to
                                 18                which Plaintiffs and the Class Members are entitled;
                                 19         n.     Whether Sabre willfully and/or negligently violated the Fair Credit
                                 20                Reporting Act, 15 U.S.C. § 1681, et seq.; and
                                 21         o.     Whether Plaintiffs and the Class are entitled to damages, civil
                                 22                penalties, punitive damages, and/or injunctive relief.
                                 23         58.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of
                                 24   those of other Class Members because Plaintiffs’ PII, like that of every other Class
                                 25   Member, was misused and/or disclosed by Sabre.
                                 26         59.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs will
                                 27   fairly and adequately represent and protect the interests of the members of the Class.
                                 28   Plaintiffs have retained competent counsel experienced in litigation of class actions,
                                                                                 18
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                                  1   including consumer and data breach class actions, and Plaintiffs intend to prosecute
                                  2   this action vigorously. Plaintiffs’ claims are typical of the claims of other members
                                  3   of the Class and Plaintiffs has the same non-conflicting interests as the other
                                  4   Members of the Class. The interests of the Class will be fairly and adequately
                                  5   represented by Plaintiffs and their counsel.
                                  6         60.       Superiority of Class Action. Fed. R. Civ. P. 23(b)(3). A class action is
                                  7   superior to other available methods for the fair and efficient adjudication of this
                                  8   controversy since joinder of all the members of the Classes is impracticable.
                                  9   Furthermore, the adjudication of this controversy through a class action will avoid
                                 10   the possibility of inconsistent and potentially conflicting adjudication of the
                                 11   asserted claims. There will be no difficulty in the management of this action as a
                                 12   class action.
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                                 13         61.       Damages for any individual class member are likely insufficient to
                                 14   justify the cost of individual litigation so that, in the absence of class treatment,
                                 15   Sabre’s violations of law inflicting substantial damages in the aggregate would go
                                 16   un-remedied.
                                 17         62.       Class certification is also appropriate under Fed. R. Civ. P. 23(a) and
                                 18   (b)(2), because Sabre has acted or has refused to act on grounds generally applicable
                                 19   to the Classes, so that final injunctive relief or corresponding declaratory relief is
                                 20   appropriate as to the Classes as a whole.
                                 21                                          COUNT I
                                 22                                 Breach of Implied Contract
                                 23          (On Behalf of Plaintiffs and the Nationwide and California Classes)
                                 24         63.       Plaintiffs incorporate the substantive allegations contained in each and
                                 25   every paragraph of this Complaint.
                                 26         64.       Sabre and the hotels that used Sabre’s system solicited and invited
                                 27   Plaintiffs and the members of the Class to book hotel rooms. Plaintiffs and Class
                                 28   Members accepted Sabre and the hotels’ offers and booked hotel rooms through
                                                                                  19
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                                  1   Sabre.
                                  2            65.   When Plaintiffs and Class Members booked hotel rooms through
                                  3   Sabre, they provided their Private Identifiable Information. In so doing, Plaintiffs
                                  4   and Class Members entered into implied contracts with Sabre and the hotels that
                                  5   used their system pursuant to which Sabre agreed to safeguard and protect such
                                  6   information and to timely and accurately notify Plaintiffs and Class Members if
                                  7   their data had been breached and compromised.
                                  8            66.   Each booking made with Sabre’s system by Plaintiffs and Class
                                  9   Members was made pursuant to the mutually agreed-upon implied contract with
                                 10   Sabre and the hotels using their system under which Sabre agreed to safeguard and
                                 11   protect Plaintiffs’ and Class Members’ Private Identifiable Information and to
                                 12   timely and accurately notify them if such information was compromised or stolen.
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                                 13            67.   Plaintiffs and Class Members would not have provided and entrusted
                                 14   their Private Identifiable Information to Sabre in the absence of the implied contract
                                 15   between them and Sabre.
                                 16            68.   Plaintiffs and Class Members fully performed their obligations under
                                 17   the implied contracts with Sabre.
                                 18            69.   Sabre breached the implied contracts it made with Plaintiffs and Class
                                 19   Members by failing to safeguard and protect the Private Identifiable Information of
                                 20   Plaintiffs and Class Members and by failing to provide timely and accurate notice
                                 21   to them that their Private Identifiable Information was compromised as a result of
                                 22   the data breach.
                                 23            70.   As a direct and proximate result of Sabre’s breaches of the implied
                                 24   contracts between Sabre and Plaintiffs and Class Members, Plaintiffs and Class
                                 25   Members sustained actual losses and damages as described in detail above.
                                 26
                                 27                                        COUNT II
                                 28                                        Negligence
                                                                                20
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                                  1          (On Behalf of Plaintiffs and the Nationwide and California Classes)
                                  2         71.   Plaintiffs repeats and fully incorporates the allegations contained in
                                  3   each and every paragraph of this Complaint.
                                  4         72.   A special relationship exists between Defendants and the Consumer
                                  5   Plaintiffs and the Class. Defendants actively solicited Consumer Plaintiffs and the
                                  6   other Class members to use their PII in sales transactions at Defendants’ stores.
                                  7   When Consumer Plaintiffs and the other Class members gave their PII to
                                  8   Defendants to facilitate and close sales transactions, they did so with the mutual
                                  9   understanding that Defendants had reasonable security measures in place and
                                 10   Defendants would take reasonable steps to protect and safeguard the PII of
                                 11   Consumer Plaintiffs and the other Class members. Consumer Plaintiffs and the
                                 12   other Class members also gave their PII to Defendants on the premise that
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                                 13   Defendants were in a superior position to protect against the harms attendant to
                                 14   unauthorized access, theft and misuse of that information.
                                 15         73.   Upon accepting Plaintiffs’ and Class Members’ Private Identifiable
                                 16   Information in their respective point-of-sale systems, Sabre undertook and owed a
                                 17   duty to Plaintiffs and Class Members to exercise reasonable care to secure and
                                 18   safeguard that information from being compromised, lost, stolen, misused, and
                                 19   or/disclosed to unauthorized parties, and to utilize commercially reasonable
                                 20   methods to do so. This duty included, among other things, designing, maintaining,
                                 21   and testing Sabre’s security systems to ensure that Plaintiffs’ and the Class
                                 22   Members' PII was adequately secured and protected.
                                 23         74.   Sabre further had a duty to implement processes that would detect a
                                 24   breach of its security system in a timely manner.
                                 25         75.   Sabre had a duty to timely disclose to Plaintiffs and Class Members
                                 26   that their Private Identifiable Information had been or was reasonably believed to
                                 27   have been compromised. Timely disclosure was appropriate so that, among other
                                 28   things, Plaintiffs and Class Members could take appropriate measures to avoid use
                                                                               21
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                                  1   of bank funds, and monitor their account information and credit reports for
                                  2   fraudulent activity.
                                  3         76.    Sabre breached its duty to discover and to notify Plaintiffs and Class
                                  4   Members of the unauthorized access by failing to discover the security breach
                                  5   within reasonable time and by failing to notify Plaintiffs and Class Members of the
                                  6   breach until May 2017. To date, Sabre has not provided sufficient information to
                                  7   Plaintiffs and Class Members regarding the extent and scope of the unauthorized
                                  8   access and continues to breach its disclosure obligations to Plaintiffs and the Class.
                                  9         77.    Sabre also breached its duty to Plaintiffs and Class Members to
                                 10   adequately protect and safeguard this information by knowingly disregarding
                                 11   standard information security principles, despite obvious risks, and by allowing
                                 12   unmonitored and unrestricted access to unsecured Private Identifiable Information.
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                                 13   Furthering its negligent practices, Sabre failed to provide adequate supervision and
                                 14   oversight of the Private Identifiable Information with which it is entrusted, in spite
                                 15   of the known risk and foreseeable likelihood of breach and misuse, which permitted
                                 16   a third party to gather Plaintiffs’ and Class Members’ Private Identifiable
                                 17   Information, misuse the Private Identifiable Information, and intentionally disclose
                                 18   it to others without consent.
                                 19         78.    Through Sabre’s acts and omissions described in this Complaint,
                                 20   including Sabre’s failure to provide adequate security and its failure to protect
                                 21   Plaintiffs’ and Class Members’ Private Identifiable Information from being
                                 22   foreseeably captured, accessed, disseminated, stolen, and misused, Sabre
                                 23   unlawfully breached its duty to use reasonable care to adequately protect and secure
                                 24   Plaintiffs and Class Members’ Private Identifiable Information during the time it
                                 25   was within Sabre’s control.
                                 26         79.    Further, through its failure to timely discover and provide clear
                                 27   notification of the data breach to consumers, Sabre prevented Plaintiffs and Class
                                 28   Members from taking meaningful, proactive steps to secure their Private
                                                                                22
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                                  1   Identifiable Information.
                                  2         80.      Upon information and belief, Sabre improperly and inadequately
                                  3   safeguarded the Private Identifiable Information of Plaintiffs and Class Members in
                                  4   deviation from standard industry rules, regulations, and practices at the time of the
                                  5   data breach.
                                  6         81.      Sabre’s failure to take proper security measures to protect Plaintiffs
                                  7   and Class Members’ sensitive PII as described in this Complaint, created conditions
                                  8   conducive to a foreseeable, intentional criminal act, namely the unauthorized access
                                  9   of Plaintiffs and Class Members’ Private Identifiable Information.
                                 10         82.      Sabre’s conduct was grossly negligent and departed from all
                                 11   reasonable standards of care, including, but not limited to: failing to adequately
                                 12   protect the Private Identifiable Information; failing to conduct adequate regular
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                                 13   security audits; failing to provide adequate and appropriate supervision of persons
                                 14   having access to Plaintiffs’ and Class Members’ Private Identifiable Information.
                                 15         83.      Neither Plaintiffs nor the other Class Members contributed to the data
                                 16   breach and subsequent misuse of their Private Identifiable Information as described
                                 17   in this Complaint. As a direct and proximate result of Sabre’s negligence, Plaintiffs
                                 18   and Class Members sustained actual losses and damages as described in detail
                                 19   above.
                                 20                                        COUNT III
                                 21    Violation of California’s Unfair Competition Law Cal. Bus. & Prof. Code §
                                 22                            17200 Unlawful Business Practices
                                 23                            (On Behalf of the California Class)
                                 24         84.      Plaintiffs repeats and fully incorporates the allegations contained in
                                 25   each and every allegation of this Complaint.
                                 26         85.      Sabre has violated Cal. Bus. and Prof. Code §17200 et seq. by
                                 27   engaging in unlawful, unfair or fraudulent business acts and practices and unfair,
                                 28   deceptive, untrue or misleading advertising that constitute acts of “unfair
                                                                                23
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                                  1   competition” as defined in Cal. Bus. Prof. Code §17200. Sabre engaged in unlawful
                                  2   acts and practices with respect to its services by establishing the sub-standard
                                  3   security practices and procedures described herein; by soliciting and collecting
                                  4   Plaintiffs’ and Class Members’ Private Identifiable Information with knowledge
                                  5   that the information would not be adequately protected; and by gathering Plaintiffs’
                                  6   and Class Members’ Private Identifiable Information in an unsecure electronic
                                  7   environment in violation of California’s data breach statute, Cal. Civ. Code §
                                  8   1798.81.5, which requires Sabre to take reasonable methods of safeguarding the
                                  9   Private Identifiable Information of Plaintiffs and the Class Members.
                                 10         86.    In addition, Sabre engaged in unlawful acts and practices with respect
                                 11   to its services by failing to discover and then disclose the data breach to Plaintiffs
                                 12   and Class Members in a timely and accurate manner, contrary to the duties imposed
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                                 13   by Cal. Civ. Code § 1798.82. To date, Sabre has still not provided such sufficient
                                 14   information to Plaintiffs and the Class Members.
                                 15         87.    As a direct and proximate result of Sabre’s unlawful acts and practices,
                                 16   Plaintiffs and the Class Members were injured and lost money or property,
                                 17   including but not limited to the loss of their legally protected interest in the
                                 18   confidentiality and privacy of their Private Identifiable Information, and additional
                                 19   losses described above.
                                 20         88.    Sabre knew or should have known that its system had been breached
                                 21   and data security practices were inadequate to safeguard Class Members’ Private
                                 22   Identifiable Information and that the risk of a data breach or theft was highly likely.
                                 23   Sabre’s actions in engaging in the above-named unlawful practices and acts were
                                 24   negligent, knowing and willful, and/or wanton and reckless with respect to the
                                 25   rights of Class Members.
                                 26         89.    Plaintiffs and members of the Classes seek relief under Cal. Bus. &
                                 27   Prof. Code § 17200, et. seq., including, but not limited to, restitution to Plaintiffs
                                 28   and Class Members of money or property that Sabre may have acquired by means
                                                                                24
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                                  1   of its unlawful, and unfair business practices, restitutionary disgorgement of all
                                  2   profits accruing to Sabre because of its unlawful and unfair business practices,
                                  3   declaratory relief, attorney’s fees and costs (pursuant to Cal. Code Civ. Proc. §
                                  4   1021.5), and injunctive or other equitable relief.
                                  5                                         COUNT IV
                                  6     Violation of California’s Unfair Competition Law Cal. Bus. & Prof. Code
                                  7                              §17200 Unfair Business Practices
                                  8                              (On Behalf of the California Class)
                                  9             90.   Plaintiffs repeats and fully incorporates the allegations contained in
                                 10   each and every allegation of this Complaint.
                                 11             91.   Sabre engaged in unfair acts and practices by soliciting and collecting
                                 12   Plaintiffs’ and Class Members’ Private Identifiable Information with knowledge
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                                 13   that the information would not be adequately protected; while Plaintiffs’ and the
                                 14   Class Members’ Private Identifiable Information would be processed in an unsecure
                                 15   electronic environment. These unfair acts and practices were immoral, unethical,
                                 16   oppressive, unscrupulous, unconscionable, and/or substantially injurious to
                                 17   Plaintiffs and Class Members. They were likely to deceive the public into believing
                                 18   their Private Identifiable Information was secure, when it was not. The harm these
                                 19   practices caused to Plaintiffs and the members of the Class outweighed their utility,
                                 20   if any.
                                 21             92.   Sabre engaged in unfair acts and practices with respect to the provision
                                 22   of its services by failing to enact adequate privacy and security measures and protect
                                 23   Class Members’ Private Identifiable Information from further unauthorized
                                 24   disclosure, release, data breaches, and theft, and failing to timely discovery and give
                                 25   notice of the Data Breach. These unfair acts and practices were immoral, unethical,
                                 26   oppressive, unscrupulous, unconscionable, and/or substantially injurious to
                                 27   Plaintiffs and Class Members. They were likely to deceive the public into believing
                                 28   their Private Identifiable Information was secure, when it was not. The harm these
                                                                                  25
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                                  1   practices caused to Plaintiffs and the Class Members outweighed their utility, if any.
                                  2         93.    As a direct and proximate result of Sabre’s acts of unfair practices and
                                  3   acts, Plaintiffs and the members of the Class were injured and lost money or
                                  4   property, including but not limited to the loss of their legally protected interest in
                                  5   the confidentiality and privacy of their PII, and additional losses described above.
                                  6         94.    Sabre knew or should have known that its systems and data security
                                  7   practices were inadequate to safeguard Class Members’ Private Identifiable
                                  8   Information and that the risk of a data breach or theft was highly likely. Sabre’s
                                  9   actions in engaging in the above-named unlawful practices and acts were negligent,
                                 10   knowing and willful, and/or wanton and reckless with respect to the rights of the
                                 11   Class Members.
                                 12         95.    The members of the Class seek relief under Cal. Bus. & Prof. Code §
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                                 13   17200, et. seq., including, but not limited to, restitution to Plaintiffs and Class
                                 14   Members of money or property that the Sabre may have acquired by means of its
                                 15   unfair business practices, restitutionary disgorgement of all profits accruing to
                                 16   Sabre because of its unfair business practices, declaratory relief, attorney’s fees
                                 17   and costs (pursuant to Cal. Code Civ. Proc. §1021.5), and injunctive or other
                                 18   equitable relief.
                                 19                                         COUNT V
                                 20     Violation of California’s Unfair Competition Law Cal. Bus. & Prof. Code
                                 21                   §17200 Fraudulent/Deceptive Business Practices
                                 22                           (On Behalf of the California Class)
                                 23         96.    Plaintiffs repeats and fully incorporates the allegations contained in
                                 24   each and every allegation of this Complaint.
                                 25         97.    Sabre engaged in fraudulent and deceptive acts and practices by
                                 26   representing and advertising that it would maintain adequate data privacy and
                                 27   security practices and procedures to safeguard the Class Members’ Private
                                 28   Identifiable Information from unauthorized disclosure, release, data breaches, and
                                                                                 26
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                                  1   theft; and representing and advertising that it did and would comply with the
                                  2   requirements of relevant federal and state laws pertaining to the privacy and security
                                  3   of the members of the Class’ Private Identifiable Information.                     These
                                  4   representations were likely to deceive members of the public, including Plaintiffs
                                  5   and Class Members, into believing their Private Identifiable Information was
                                  6   securely stored, when it was not, and that Sabre was complying with relevant law,
                                  7   when it was not.
                                  8         98.    Sabre engaged in fraudulent and deceptive acts and practices by
                                  9   omitting, suppressing, and concealing the material fact of the inadequacy of the
                                 10   privacy and security protections for Class Members’ Private Identifiable
                                 11   Information. At the time that Class Members were booking hotel rooms with
                                 12   through Sabre’s system or hotels that use Sabre’s system, Sabre failed to disclose
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                                 13   to Class Members that its data security systems failed to meet legal and industry
                                 14   standards for the protection of their Private Identifiable Information. Plaintiffs
                                 15   would not have booked a hotel room with Sabre or through the hotels that use
                                 16   Sabre’s CRS if he had known about its substandard data security practices. These
                                 17   representations were likely to deceive members of the public, including Plaintiffs
                                 18   and the Class Members, into believing their Private Identifiable Information was
                                 19   secure, when it was not, and that Sabre was complying with relevant law and
                                 20   industry standards, when it was not.
                                 21         99.     As a direct and proximate result of Sabre’s deceptive practices and
                                 22   acts, Plaintiffs and the Class Members were injured and lost money or property,
                                 23   including but not limited to the loss of their legally protected interest in the
                                 24   confidentiality and privacy of their Private Identifiable Information, and additional
                                 25   losses described above.
                                 26         100. Sabre knew or should have known that its system and data security
                                 27   practices were inadequate to safeguard Class Members’ PII and that the risk of a
                                 28   data breach or theft was highly likely. Sabre’s actions in engaging in the above-
                                                                                 27
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                                  1   named unlawful practices and acts were negligent, knowing and willful, and/or
                                  2   wanton and reckless with respect to the rights of Class Members.
                                  3         101. Class Members seek relief under Cal. Bus. & Prof. Code § 17200, et.
                                  4   seq., including, but not limited to, restitution to Plaintiffs and Class Members of
                                  5   money or property that Sabre may have acquired by means of its fraudulent and
                                  6   deceptive business practices, restitutionary disgorgement of all profits accruing to
                                  7   Sabre because of its fraudulent and deceptive business practices, declaratory
                                  8   relief, attorney’s fees and costs (pursuant to Cal. Code Civ. Proc. §1021.5), and
                                  9   injunctive or other equitable relief.
                                 10                                           COUNT VI
                                 11                        Unfair and Deceptive Business Practices
                                 12                              (On Behalf of the Nationwide Class)
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                                 13         102. Plaintiffs repeats and fully incorporates the allegations contained in
                                 14   each and every allegation of this Complaint.
                                 15         103. Plaintiffs bring this Count individually, and on behalf of all similarly
                                 16   situated residents of each of the 50 States and the District of Columbia, aside from
                                 17   the state of California, for violations of the respective statutory consumer
                                 18   protection laws, as follows:
                                 19         a.     the Alabama Deceptive Trade Practices Act, Ala.Code 1975, § 8–19–
                                 20                1, et seq.;
                                 21         b.     the Alaska Unfair Trade Practices and Consumer Protection Act, AS
                                 22                § 45.50.471, et seq.;
                                 23         c.     the Arizona Consumer Fraud Act, A.R.S §§ 44-1521, et seq.;
                                 24         d.     the Arkansas Deceptive Trade Practices Act, Ark.Code §§ 4-88-101,
                                 25                et seq.;
                                 26         e.     the Colorado Consumer Protection Act, C.R.S.A. §6-1-101, et seq.;
                                 27         f.     the Connecticut Unfair Trade Practices Act, C.G.S.A. § 42-110, et
                                 28                seq.;
                                                                                 28
                                                              SECOND AMENDED CLASS ACTION COMPLAINT
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                                  1        g.    the Delaware Consumer Fraud Act, 6 Del. C. § 2513, et seq.;
                                  2        h.    the D.C. Consumer Protection Procedures Act, DC Code § 28-3901,
                                  3              et seq.;
                                  4        i.    the Florida Deceptive and Unfair Trade Practices Act, FSA §
                                  5              501.201, et seq.;
                                  6        j.    the Georgia Fair Business Practices Act, OCGA § 10-1-390, et seq.;
                                  7        k.    the Hawaii Unfair Competition Law, H.R.S. § 480-1, et seq.;
                                  8        l.    the Idaho Consumer Protection Act, I.C. § 48-601, et seq.;
                                  9        m.    the Illinois Consumer Fraud and Deceptive Business Practices Act,
                                 10              815 ILCS 501/1 et seq.;
                                 11        n.    the Indiana Deceptive Consumer Sales Act, IN ST § 24-5-0.5-2, et
                                 12              seq.
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                                 13        o.    the Iowa Private Right of Action for Consumer Frauds Act, Iowa
                                 14              Code Ann. § 714H.1, et seq.;
                                 15        p.    the Kansas Consumer Protection Act, K.S.A. § 50-623, et seq.;
                                 16        q.    the Kentucky Consumer Protection Act, KRS 367.110, et seq.;
                                 17        r.    the Louisiana Unfair Trade Practices and Consumer Protection Law,
                                 18              LSA-R.S. 51:1401, et seq.;
                                 19        s.    the Maine Unfair Trade Practices Act, 5 M.R.S.A. § 205-A, et seq.;
                                 20        t.    the Maryland Consumer Protection Act, MD Code, Commercial
                                 21              Law, § 13-301, et seq.;
                                 22        u.    the Massachusetts Regulation of Business Practices for Consumers
                                 23              Protection Act, M.G.L.A. 93A, et seq.;
                                 24        v.    the Michigan Consumer Protection Act, M.C.L.A. 445.901, et seq.;
                                 25        w.    the Minnesota Prevention of Consumer Fraud Act, Minn. Stat. §
                                 26              325F.68, et seq.;
                                 27        x.    the Mississippi Consumer Protection Act, Miss. Code Ann. § 75-24-
                                 28              1, et seq.
                                                                              29
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                                  1        y.    the Missouri Merchandising Practices Act, V.A.M.S. § 407, et seq.;
                                  2        z.    the Montana Unfair Trade Practices and Consumer Protection Act of
                                  3              1973, Mont. Code Ann. § 30-14-101, et seq.;
                                  4        aa.   the Nebraska Consumer Protection Act, Neb.Rev.St. §§ 59-1601, et
                                  5              seq.;
                                  6        bb.   the Nevada Deceptive Trade Practices Act, N.R.S. 41.600, et seq.;
                                  7        cc.   the New Hampshire Regulation of Business Practices for Consumer
                                  8              Protection, N.H.Rev.Stat. § 358-A:1, et seq.;
                                  9        dd.   the New Jersey Consumer Fraud Act, N.J.S.A. 56:8, et seq.;
                                 10        ee.   the New Mexico Unfair Practices Act, N.M.S.A. §§ 57-12-1, et seq.;
                                 11        ff.   the New York Consumer Protection from Deceptive Acts and
                                 12              Practices, N.Y. GBL (McKinney) § 349, et seq.;
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                                 13        gg.   the North Carolina Unfair and Deceptive Trade Practices Act, N.C.
                                 14              Gen Stat. § 75-1.1, et seq.;
                                 15        hh.   the North Dakota Consumer Fraud Act, N.D. Cent.Code Chapter 51-
                                 16              15, et seq.;
                                 17        ii.   the Ohio Consumer Sales Practices Act, R.C. 1345.01, et seq.;
                                 18        jj.   the Oklahoma Consumer Protection Act, 15 O.S.2001, §§ 751, et
                                 19              seq.;
                                 20        kk.   the Oregon Unlawful Trade Practices Act, ORS 646.605, et seq.;
                                 21        ll.   the Pennsylvania Unfair Trade Practices and Consumer Protection
                                 22              Law, 73 P.S. § 201-1, et seq.;
                                 23        mm. the Rhode Island Deceptive Trade Practices Act, G.L.1956 § 6-13.1-
                                 24              5.2(B), et seq.;
                                 25        nn.   the South Carolina Unfair Trade Practices Act, SC Code 1976, §§ 39-
                                 26              5-10, et seq.;
                                 27        oo.   the South Dakota Deceptive Trade Practices and Consumer
                                 28              Protection Act, SDCL § 37-24-1, et seq.;
                                                                                30
                                                          SECOND AMENDED CLASS ACTION COMPLAINT
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                                  1          pp.    the Tennessee Consumer Protection Act, T.C.A. § 47-18-101, et seq.;
                                  2          qq.    the Texas Deceptive Trade Practices-Consumer Protection Act,
                                  3                 V.T.C.A., Bus. & C. § 17.41, et seq.;
                                  4          rr.    the Utah Consumer Sales Practices Act, UT ST § 13-11-1, et seq.;
                                  5          ss.    the Vermont Consumer Fraud Act, 9 V.S.A. § 2451, et seq.;
                                  6          tt.    the Virginia Consumer Protection Act of 1977, VA ST § 59.1-196, et
                                  7                 seq.;
                                  8          uu.    the Washington Consumer Protection Act, RCWA 19.86.010, et seq.;
                                  9          vv.    the West Virginia Consumer Credit And Protection Act, W.Va.Code
                                 10                 § 46A-1-101, et seq.;
                                 11          ww. the Wisconsin Deceptive Trade Practices Act, WIS.STAT. § 100.18,
                                 12                 et seq.; and
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                                 13          xx.    the Wyoming Consumer Protection Act, WY ST § 40-12-101, et seq.
                                 14          104. Sabre violated the statutes set forth above (collectively, the
                                 15   “Consumer Protection Acts”) by failing to properly implement adequate,
                                 16   commercially reasonable security measures to protect Plaintiffs and Class
                                 17   Members’ PII, and by allowing third parties to access Plaintiffs’ and Class
                                 18   Members’ PII.
                                 19          105. Sabre further violated the Consumer Protection Acts by failing to
                                 20   disclose to the consumers that its data security practices were inadequate, thus
                                 21   inducing consumers to book hotels rooms through Sabre and the hotels that use
                                 22   Sabre’s CRS.
                                 23          106. Sabre’s acts and/or omissions constitute fraudulent, deceptive, and/or
                                 24   unfair acts or omissions under the Consumer Protection Acts.
                                 25          107. Plaintiffs and other Class Members were deceived by Sabre’s failure
                                 26   to properly implement adequate, commercially reasonable security measures to
                                 27   protect their PII.
                                 28          108. Sabre intended for Plaintiffs and other Class Members to rely on
                                                                               31
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                                  1   Sabre to protect the information furnished to it in connection with debit and credit
                                  2   card transactions and/or otherwise collected by Sabre, in such manner that
                                  3   Plaintiffs’ PII would be protected, secure and not susceptible to access from
                                  4   unauthorized third parties.
                                  5         109. Sabre instead handled Plaintiffs’ and other Class Members’
                                  6   information in such manner that it was compromised.
                                  7         110. Sabre failed to follow industry best practices concerning data security
                                  8   or was negligent in preventing the Data Breach from occurring.
                                  9         111. It was foreseeable that Sabre’s willful indifference or negligent
                                 10   course of conduct in handling PII it collected would put that information at the
                                 11   risk of compromise by data thieves.
                                 12         112. On information and belief, Sabre benefited from mishandling the PII
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                                 13   of customers, by not taking effective measures to secure this information, and
                                 14   therefore saving on the cost of providing data security.
                                 15         113. Sabre’s fraudulent and deceptive acts and omissions were intended to
                                 16   induce Plaintiffs’ and Class Members’ reliance on Sabre’s deception that their
                                 17   Private Information was secure.
                                 18         114. Sabre’s conduct offends public policy and constitutes unfair acts or
                                 19   practices under the Consumer Protection Acts because Sabre caused substantial
                                 20   injury to Class Members that is not offset by countervailing benefits to consumers
                                 21   or competition, and is not reasonably avoidable by consumers.
                                 22         115. Sabre’s acts or practice of failing to employ reasonable and
                                 23   appropriate security measures to protect Private Information constitute violations
                                 24   of the Federal Trade Commission Act, 15 U.S.C. § 45(a), which the courts
                                 25   consider when evaluating claims under the Consumer Protection Acts, including
                                 26   815 ILCS 505/2.
                                 27         116. Sabre’s conduct constitutes unfair acts or practices as defined in the
                                 28   Consumer Protection Acts because Sabre caused substantial injury to Class
                                                                               32
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                                  1   members, which injury is not offset by countervailing benefits to consumers or
                                  2   competition and was not reasonably avoidable by consumers.
                                  3         117. Plaintiffs and other Class Members have suffered injury in fact and
                                  4   actual damages including lost money and property as a result of Sabre’s violations
                                  5   of the Consumer Protection Acts.
                                  6         118. Sabre’s fraudulent and deceptive behavior proximately caused
                                  7   Plaintiffs’ and Class Members’ injuries, and Sabre conducted itself with reckless
                                  8   indifference toward the rights of others, such that an award of punitive damages is
                                  9   appropriate.
                                 10         119. Sabre’s failure to disclose information concerning the Data Breach
                                 11   directly and promptly to affected customers, constitutes a separate fraudulent act
                                 12   or practice in violation of the Consumer Protection Acts.
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                                            120. Plaintiffs seek attorney’s fees and damages to the fullest extent
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                                 13
                                 14   permitted under the Consumer Protection Acts, including N.Y. G.B.L. § 349(h).
                                 15                                       COUNT VII
                                 16                          Constitutional Invasion of Privacy
                                 17                           (On Behalf of the California Class)
                                 18         121. Plaintiffs repeats and fully incorporates the allegations contained in
                                 19   each and every allegation of this Complaint.
                                 20         122. Cal. Const., Art. 1., section 1 provides that “[a]ll people are by nature
                                 21   free and independent and have inalienable rights. Among these are enjoying and
                                 22   defending life and liberty, acquiring, possessing, and protecting property, and
                                 23   pursuing and obtaining safety, happiness, and privacy.”
                                 24         123. Plaintiffs and Class members had a legally protected privacy interest
                                 25   in the Private Identifiable Information provided to Sabre.
                                 26         124. Plaintiffs and Class Members had a reasonable expectation of privacy
                                 27   as to the Private Identifiable Information they provided to Sabre under the
                                 28   circumstances of their purchases.
                                                                               33
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                                  1         125. Sabre's actions and inactions amounted to a serious invasion of the
                                  2   protected privacy interests of Plaintiffs and Class Members.
                                  3         126. Sabre's invasion of Plaintiffs and Class Members' reasonable
                                  4   expectation of privacy caused Plaintiffs and Class members to suffer damages.
                                  5                                      COUNT VIII
                                  6                                    Negligence Per Se
                                  7           (On Behalf of Plaintiffs and the Nationwide and California Classes
                                  8         127. Plaintiffs repeats and fully incorporates the allegations contained in
                                  9   each and every allegation of this Complaint.
                                 10         128. Pursuant to the Federal Trade Commission Act (15 U.S.C. §45),
                                 11   Sabre had a duty to provide fair and adequate computer systems and data security
                                 12   practices to safeguard Plaintiffs’ and Class Members’ PII.
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                                 13         129. Pursuant to the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), Sabre
                                 14   had a duty to protect the security and confidentiality of Plaintiffs’ and Class
                                 15   Members’ PII.
                                 16         130. Pursuant to state laws in the following 12 states, Sabre operating in
                                 17   those states had a duty to those respective states’ Class Members to implement
                                 18   and maintain reasonable security procedures and practices to safeguard Plaintiffs’
                                 19   and Class Members’ Personal Information:
                                 20                a. Arkansas: Ark. Code § 4-110-104
                                 21                b. California: Cal Civ. Code § 1798.81.5
                                 22                c. Connecticut: Conn. Gen. Stat. § 42-471
                                 23                d. Florida: Fla. Stat. § 501.171(2)
                                 24                e. Indiana: Ind. Code § 24-4.9-3.5
                                 25                f. Maryland: Md. Code. Comm. Law § 14-5303
                                 26                g. Massachusetts: Mass. Gen Laws Ch. 93H, § 3(a)
                                 27                h. Nevada: Nev. Rev. Stat. § 603A.210
                                 28                i. Oregon: Ore. Rev. Stat. § 646A.622(1)
                                                                                34
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                                  1                  j. Rhode Island: R.I. Gen Laws § 11-49.2-2(2)
                                  2                  k. Texas: Tex. Bus. & Com. Code § 521.052(a)
                                  3                  l. Utah: Utah Code § 14-44-201(1)(a)
                                  4         131. Sabre breached their duties to Plaintiffs and Statewide Class
                                  5   Members under the Federal Trade Commission Act (15 U.S.C. § 45), Gramm-
                                  6   Leach-Bliley Act (15 U.S.C. § 6801), and the state reasonable data security
                                  7   statutes by failing to provide fair, reasonable, or adequate computer systems and
                                  8   data security practices to safeguard Plaintiffs’ and Class Members’ Personal
                                  9   Information.
                                 10         132. Sabre’s failure to comply with applicable laws and regulations
                                 11   constitutes negligence per se.
                                 12         133. But for Sabre’s wrongful and negligent breach of their duties owed to
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                                 13   Plaintiffs and Statewide Class Members, Plaintiffs and Statewide Class Members
                                 14   would not have been injured.
                                 15         134. The injury and harm suffered by Plaintiffs and Statewide Class
                                 16   Members was the reasonably foreseeable result of Sabre’s breach of their duties.
                                 17   Sabre knew or should have known that they were failing to meet their duties, and
                                 18   that Sabre’s breach would cause Plaintiffs and Statewide Class Members to
                                 19   experience the foreseeable harms associated with the exposure of their Personal
                                 20   Information.
                                 21         135. As a direct and proximate result of Sabre negligent conduct,
                                 22   Plaintiffs and Class Members have suffered injury and are entitled to damages in
                                 23   an amount to be proven at trial.
                                 24                                       COUNT IX
                                 25          Breach of the Covenant of Duty of Good Faith and Fair Dealing
                                 26          (On Behalf of Plaintiffs and the Nationwide and California Classes)
                                 27         136. Plaintiffs repeats and fully incorporates the allegations contained in
                                 28   each and every allegation of this Complaint.
                                                                               35
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                                  1         137. The law implies a covenant of good faith and fair dealing in every
                                  2   contract.
                                  3         138. Plaintiffs and Class Members contracted with Defendant by
                                  4   accepting Defendant’s offers and paying for the booking of hotel room(s).
                                  5         139. Plaintiffs and Class Members performed all of the significant duties
                                  6   under their agreements with Defendant.
                                  7         140. The conditions required for Sabre’s performance under the contract
                                  8   has occurred.
                                  9         141. Sabre did not provide and/or unfairly interfered with and/or frustrated
                                 10   the right of Plaintiffs and the Class Members to receive the full benefits under
                                 11   their agreement.
                                 12         142. Sabre breached the covenant of good faith and fair dealing implied in
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                                 13   its contracts with Plaintiffs and the Class Members by failing to use and provide
                                 14   reasonable and industry-leading security practices.
                                 15         143. Plaintiffs and the Class Members were damaged by Sabre’s breach
                                 16   in that they paid for, but never received, the valuable security protections to which
                                 17   they were entitled, and which would have made their products and services more
                                 18   valuable.
                                 19                                        COUNT X
                                 20                          Violation of State Data Breach Acts
                                 21          (On Behalf of Plaintiffs and the Nationwide and California Classes)
                                 22         144. Plaintiffs repeats and fully incorporates the allegations contained in
                                 23   each and every allegation of this Complaint.
                                 24         145. Sabre owns, licenses and/or maintains computerized data that
                                 25   includes Plaintiffs’ and Class Members’ PII.
                                 26   Sabre was required to, but failed, to take all reasonable steps to dispose, or arrange
                                 27   for the disposal, of records within its custody or control containing PII when the
                                 28   records were no longer to be retained, by shredding, erasing, or otherwise
                                                                                36
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                                  1   modifying the personal information in those records to make it unreadable or
                                  2   undecipherable through any means.
                                  3         146. Sabre’s conduct, as alleged above, violated the data breach statutes of
                                  4   many states, including:
                                  5               a. California, Cal. Civ. Code §§ 1798.80 et. seq.;
                                  6               b. Hawaii, Haw. Rev. Stat. § 487N-1–4 (2006);
                                  7               c. Illinois, 815 Ill. Comp Stat. Ann. 530/1–/30 (2006);
                                  8               d. Louisiana, La. Rev. Stat. § 51:3071-3077 (2005), and L.A.C.
                                  9                   16:III.701;
                                 10               e. Michigan, Mich. Comp. Laws Ann. §§ 445.63, 445.65, 445.72
                                 11                   (2006);
                                 12               f. New Hampshire, N.H. Rev. Stat. Ann. §§ 359-C:19–C:21, 358-
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                                 13                   A:4 (2006)., 332-I:1–I:610;
                                 14               g. New Jersey, N.J. Stat. Ann. § 56:8-163–66 (2005);
                                 15               h. North Carolina, N.C. Gen. Stat. §§ 75-65 (2005); as amended
                                 16                   (2009);
                                 17               i. Oregon, Or. Rev. Stat. §§ 646A.602, 646A.604, 646A.624 (2011);
                                 18               j. Puerto Rico, 10 L.P.R.A. § 4051; 10 L.P.R.A. § 4052 (2005), as
                                 19                   amended (2008);
                                 20               k. South Carolina, S.C. Code § 1-11-490 (2008); S.C. Code § 39-1-
                                 21                   90 (2009);
                                 22               l. Virgin Islands, 14 V.I.C. § 2208, et seq. (2005);
                                 23               m. Virginia, Va. Code Ann. § 18.2-186.6 (2008); Va. Code Ann. §
                                 24                   32.1– 127.1:05 (2011); and
                                 25               n. the District of Columbia, D.C. Code § 28-3851 to 28-3853 (2007)
                                 26                   (collectively, the “State Data Breach Acts”).
                                 27         147. Sabre was required to, but failed, to implement and maintain
                                 28   reasonable security procedures and practices appropriate to the nature and scope
                                                                              37
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                                  1   of the information compromised in the Data Breach.
                                  2         148. The Data Breach constituted a “breach of the security system” within
                                  3   the meaning of section 1798.82(g) of the California Civil Code, and other State
                                  4   Data Breach Acts.
                                  5         149. The information compromised in the Data Breach constituted
                                  6   “personal information” within the meaning of section 1798.80(e) of the California
                                  7   Civil Code, and other State Data Breach Acts.
                                  8         150. Like other State Data Breach Acts, California Civil Code §
                                  9   1798.80(e) requires disclosure of data breaches “in the most expedient time
                                 10   possible and without unreasonable delay . . . .”
                                 11         151. Sabre violated Cal. Civ. Code § 1798.80(e) and other State Data
                                 12   Breach Acts by unreasonably delaying disclosure of the Data Breach to Plaintiffs
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                                 13   and other Class Members, whose PII was, or was reasonably believed to have
                                 14   been, acquired by an unauthorized person.
                                 15         152. Upon information and belief, no law enforcement agency instructed
                                 16   Sabre that notification to Plaintiffs and Class Members would impede a criminal
                                 17   investigation.
                                 18         153. As a result of Sabre’s violation of State Data Breach Acts, including
                                 19   Cal. Civ. Code § 1798.80, et seq., Plaintiffs and Class Members incurred
                                 20   economic damages, including expenses associated with monitoring their personal
                                 21   and financial information to prevent further fraud.
                                 22         154. Plaintiffs, individually and on behalf of the Class, seek all remedies
                                 23   available under Cal. Civ. Code § 1798.84 and under the other State Data Breach
                                 24   Acts, including, but not limited to: (a) actual damages suffered by Class Members
                                 25   as alleged above; (b) statutory damages for Sabre’s willful, intentional, and/or
                                 26   reckless violation of Cal. Civ. Code § 1798.83; (c) equitable relief; and (d)
                                 27   reasonable attorneys’ fees and costs under Cal. Civ. Code §1798.84(g).
                                 28         155. Because Sabre was guilty of oppression, fraud or malice, in that it
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                                  1   failed to act with a willful and conscious disregard of Plaintiffs’ and Class
                                  2   Members’ rights, Plaintiffs also seek punitive damages, individually and on behalf
                                  3   of the Class.
                                  4   VI.   PRAYER FOR RELIEF
                                  5         WHEREFORE, Plaintiffs, individually and on behalf of all Class Members
                                  6   proposed in this Complaint, respectfully requests that the Court enter judgment in
                                  7   her favor and against Sabre as follows:
                                  8         A.        For an Order certifying the Nationwide Class and California Class as
                                  9                   defined here, and appointing Plaintiffs and her Counsel to represent
                                 10                   the Nationwide Class and the California Class;
                                 11         B.        For equitable relief enjoining Sabre from engaging in the wrongful
                                 12                   conduct complained of here pertaining to the misuse and/or
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                                                      disclosure of Plaintiffs’ and Class Members’ Private Identifiable
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                                 13
                                 14                   Information, and from refusing to issue prompt, complete, and
                                 15                   accurate disclosures to the Plaintiffs and Class Members;
                                 16         C.        For equitable relief compelling Sabre to utilize appropriate methods
                                 17                   and policies with respect to consumer data collection, storage, and
                                 18                   safety and to disclose with specificity to Class Members the type of
                                 19                   PII compromised.
                                 20         D.        For equitable relief requiring restitution and disgorgement of the
                                 21                   revenues wrongfully retained as a result of Sabre’s wrongful conduct;
                                 22         E.        For an award of actual damages and compensatory damages, in an
                                 23                   amount to be determined;
                                 24         F.        For an award of costs of suit and attorneys’ fees, as allowable by
                                 25                   law; and
                                 26         G.        Such other and further relief as this court may deem just and proper.
                                 27
                                 28                               DEMAND FOR JURY TRIAL
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                                  1         Based on the foregoing, Plaintiffs, on behalf of themselves, and all others
                                  2   similarly situated, hereby demand a jury trial for all claims so triable.
                                  3
                                  4   Dated: November 14, 2017                       Respectfully Submitted,
                                  5
                                                                                     /s/    Colin M. Jones, Esq.
                                  6
                                                                                     _____________________________
                                  7                                                  Colin M. Jones, Esq. SBN: 265628
                                                                                     Attorneys for Plaintiffs
                                  8
                                  9                                                  /s/ Thomas V. Girardi, Esq.
                                                                                     ____________________________
                                 10
                                                                                     Thomas V. Girardi, Esq. SBN: 36603
                                 11                                                  Attorneys for Plaintiffs
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                                                            SECOND AMENDED CLASS ACTION COMPLAINT
